Case 1:20-cv-10484-GAO Document 66-12 Filed 11/01/22 Page 1 of 4
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Case 1:20-cv-10484-GAO Document 66-12 Filed 11/01/22 Page 2 of 4

 

 

VOLUME I
PAGES: 1 - 49
EXHIBITS: NONE

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:20-CV-10484-GAO

 

EDWARD SULLIVAN, HEATHER
SULLIVAN, DOE CHILD 1,
DOE CHILD 2, DOE CHILD 3 and
DOE CHILD 4,

Plaintiffs,

VS.

THE TOWN OF WALPOLE, MA.,
WALPOLE POLICE DEPARTMENT,
CHTEF JOHN F. CARMICHAEL,
JR., OFFICER ANDREW
KIEWLICZ, DET. MICHAEL
BENNER, DET. SGT. RICHARD
KELLEHER, OFFICER THOMAS
HART, DET. KYLE GRIFFIN,
OFFICER MATTHEW CROWN, AND
OTHER NAMES UNKNOWN TO THE
PLAINTIFFS AT THIS TIME,
WALPOLE SCHOOL DEPARTMENT,
VICE PRINCIPAL LEE TOBEY,
AND OTHERS AS YET UNKNOWN TO
THE, PLAINTIFFS,
Defendants.

 

REMOTE DEPOSITION OF EDWARD SULLIVAN, taken on
behalf of the Defendants, pursuant to the applicable
provisions of the Federal Rules of Civil Procedure,
appearing remotely before Ariane L. Baker, Certified
Shorthand Reporter and Notary Public within and for the
Commonwealth of Massachusetts, appearing remotely from
Plymouth County, Massachusetts, on February 18, 2022,
commencing at 9:58 a.m.

 

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Case 1:20-cv-10484-GAO Document 66-12
EDWARD SULLIVAN, VOLUME |

Filed 11/01/22 Page 3 of 4
February 18, 2022

 

 

 

 

Page 9 Page 11
iL counts as a social media type account. 1 A. Yeah. | mean, it was -- You know, it was a
2 Q. Okay. And your current marital status is 2 misdemeanor and, you know, like | did everything that | was
3 married, correct? 8 supposed to have done. Additionally, I -- When I was a
4 A. That's right. 4 senior in high school, | had a noise party at my house, and
5 Q. Allright. And your wife is Heather? 5 the Sandwich Police arrested everybody at the house, so
6 A. That's right. 6 that probably is in there as well.
7 Q. And how long have you been married? 7 Q. Okay. Got it. All right. And I just want to go
8 A. 21 years. Almost 21 years. 8 through a little bit of your family background. I know
9 Q. Happy early anniversary. 9 that you've listed your children and their ages. | want to
10 A. Thank you. 10 focus a little bit on SQRiii®. So GER 18. Is she
11 Q. And 1 know your children are plaintiffs in this 11 currently in college or is she still in high school?
12 lawsuit, but if you could -- just for the record, could you 12 A. She's in college.
13 state their names and their ages? 13 Q. Okay. And where does she attend school?
14 A. Yes. @iig@mmap Sullivan, she's eighteen; 14 A. She goes to the University of Maine at Orono.
15 GD Sullivan, she's fifteen; €§ff\Sullivan, he's eleven; 15 Q. Did she start this calendar year?
16 ~— and QiBaeSullivan, he's nine. 16 A. She did. She's a freshman.
17 Q. Allright. And | understand you're employed as a 17 Q. She's a freshman?
18 school teacher; is that correct? 18 A. She graduated last May of 2021.
19 A. That's correct. 19 Q. Okay. And what high school did she graduate
20 Q. Allright. And you work at Mansfield High 20 from?
21 School? 21. A. So she transferred to TECCA -- it's a -- somewhat
22 A. That's correct. 22 of a school choice, online school -- from Walpole High
23 Q. Allright. And what subject do you teach? 23 School. It's not through Walpole High School.
24 A. I'm aresource room teacher, special education. 24 Q. Got it. Okay. Was it like a private online
Page 10 Page 12
1 Q. Okay. So you're kind of like a -- the support 1 school or is it a public outlet?
2 second teacher in the classroom? 2 A. It's a public outlet. So it's -- You know, you
3 A. Well, no. It's not a co-teaching situation. 3 still have to come under the same requirements as you would
4 It's more that students will have me for a period of 4 at a public high school, except that it's -- you know, it's
5 support. So, in other words, they would have Algebra 2, 5 all online.
6 U.S. History, whatever it might be, and then for one period 6 Q. Right. Okay. Kind of like everyone else last
7 a day, they would have me for a resource room support, you 7 year anyway?
8 know, so that I can help them with their -- you know, 8 A. Yeah. Yeah. Actually, you know -- you know, in
9 basically with their disability, but as well as their 9 that sense, yeah, | mean, certainly.
10 academic classes to make sure that they're on point. 10 Q. Okay. And I know she's -- Let's see. This
At Q. Okay. And what kind of disabilities? Do you 11 started -- The incident happened in 2018, correct?
12 have a speciality or is there -- 12 A. That's correct.
13 A. Sol'ma- I'm certified Grades 5 through 12, 13 Q. Okay. October 24th, 2018 is the day you were
14 and | have a moderate certification -- moderate and a 14 arrested, correct?
15 severe, but what I've done over the last 20 years has been 15) A. | believe that's the date. Yes.
16 moderate disabilities. In the summers, | work the 16 Q. Okay. So when | ask -- I'm going to ask
17 extended-year program and it's more severe disabilities, 17 questions a little bit about @ililiam schooling, and so
18 but that's only like -- that's like five weeks in the 18 that's kind of the time period | want to focus in on right
19 summer. 19 now, so kind of plus or minus six months from October 2018,
20 Q. Okay. And then other than the incident that 20 so, you know --
21 we're here for today, have you ever been arrested? 21 A. Sure.
22 A. lthave. | -- Let's see. | had an OUI in, | want 22 Q. -- spring of 2018 to fall of 2018 semester.
23 to say, '93 -- 1993. 23 How was she doing in school?
24 Q. Okay. And was that expunged? 24 A. How was she -- I'm sorry?

 

 

Pages 9 to 12

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Case 1:20-cv-10484-GAO Document 66-12
EDWARD SULLIVAN, VOLUME |

Filed 11/01/22 Page 4 of 4
February 18, 2022

 

 

 

 

Page 37 Page 39
1 know (inaudible) -- 1 A. Itdid. Yeah. I'm like -- I'm like Sais, are
2 COURT REPORTER: You froze. 2 you -- something to the effect, Are you okay, is
3 A. So for, you know, 12 years, I've been doing the 3 something —- what's -- is something -- is something going
4 same thing, getting the kids off the bus. We go do the 4 on; are you okay.
5 sports. We, you know -- Whatever. Whatever we have lined 5 Q. Did she respond back?
6 up for that day. And they -- They weren't on the bus. | 6 A. No. Not -- Not at the time.
7 didn't know what was going on. My daughter iis like, 7 Q. When did she respond back?
8 you know, hysterically crying, and I've never heard her cry 8 A. |--I'mnot sure. | mean, honestly, I'm not
9 like that before. Then I was like, All right. | called 9 sure. After that, | mean, you know -- | mean, I'm sure
10 the police. I'm like, Something's going on; my kids are, 10 they could tell you. They took my phone, so...
11 you know -- | don't even remember exactly what | said, but 11 Q. All right. So --
12 like they're -- they didn't get off the bus; I'm not sure; 12 A. And | voluntarily gave it to them, by the way.
13 My daughter says that the police are at her friend's house, 13 Q. Yeah. Allright. Just kind of getting back to
14 you know. And it probably came off as -- not as well 14 when you were pulled over, you said six to eight police
1S as what -- as much as I should have communicated it, but ! iS officers were there. Were there six to eight police cars
16 was very upset. 16 or you just saw six to eight people?
17 Then I didn't know what to do. | called my 17 A. No. And someone -- There was two uniformed --
18 mother-in-law, and -- and then | was like, you know what, 18 two cruisers, | believe. Then there was their -- | don't
19 I'm going to ~ | didn't know -- | was like, All right, I'm 19 know -- their -- There was another -- It might have been
20 going to go to the police station, and then | thought maybe 20 three cruisers. But there was someone like, | guess, who
21 I'd go -- you know, go to see, you know, wherewiliiesis, 21 would have been the sergeant, whoever's in charge of -- You
22 whatever, and so then | got in my car. And as soon as | 22 know, he pulled up as well. And | don't know if that --
23 got in my car, there was a police cruiser within about 23 Maybe it's the unmarked. It's a police car, though.
24 three inches of my bumper. They followed me for, you 24 Q. Okay. So you saw at least one unmarked car that
Page 38 Page 40
1 know -- And | was going towards the -- When I -- It used to A, might have been a sergeant, and then you saw two to three
2 be the old police station. They since had moved. | forgot 2 marked police cruisers?
3 that they had moved to South Street, but | was heading 3 A. That's right.
4 towards that general direction, and then I got pulled over. 4 Q. Okay. So approximately three to four vehicles?
5 Q. Okay. And when you got pulled over, how many -- 5 A. That's right. Like I said, | mean, it was a
6 How many police officers were there when you got pulled 6 while ago and certainly, you know, a stressful time that it
7 over? 7 was, but that's what I recall.
8 A. Six to eight, | believe. 8 Q. Okay. And then when you said six to eight
9 Q. Six to eight police officers were there when you 9 individuals, is that based on -- you saw about six to eight
10 got pulled over? 10 people or you're assuming that there were two people per
11 A. | believe that's right. | mean, yeah, I'm pretty 1, car?
12 sure. 12 A. I'm not assuming that. | thought I saw like six
13 And at the time, | had called my wife as well and 13 officers there. There was -— | dealt with one, two, three,
14 1 was like, Something's going on; | don't know; something 14 four directly, | believe -- three -- three directly, and
15 happened; | don't know what happened. And that's what 15 then there was the -- the other person who came later. And
16 happened. And | -- And then | got pulled over. 16 one of them was standing by my car window when I was --
17 Q. Okay. Ad while they were, | guess, figuring out what they wanted to
18 A. But! was on the phone with Heather at that 18 do.
19 moment. 1.9 Q. Do you know the names of any of the officers that
20 Q. Had Heather heard anything? 20 pulled you over?
21 A. Nope. 21 A. Yeah. | mean, you know, it was -- Crown was one
22 Q. Had your mother-in-law heard anything? 22 of them. Let's see. | have it listed. I'm sorry. The
23 A. No, she had not. 23 names escape me right now.
24 Q. Did you text Sgmpat all - 24 Q. Obviously you have it listed. Is this the file

 

 

Pages 37 to 40

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